                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA
                          EVANSVILLE DIVISION

LYNNETTE J. KAISER, et al.,

                   Plaintiffs,

            v.                        No. 3:20-cv-278-RLY-CSW

ALCOA USA CORP., et al.,

                   Defendants.




APPENDIX OF EXHIBITS IN DEFENDANTS’ AMENDED MEMORANDUM OF LAW
    IN SUPPORT OF MOTION TO STAY INJUNCTION PENDING APPEAL
                                                  APPENDIX OF EXHIBITS

                                                                                                                                     Exhibit

First Declaration of Tiffany Ackerman........................................................................................ A

Second Declaration of Tiffany Ackerman ................................................................................... B

Judgement Order, Curtis, ECF No. 524 ....................................................................................... C

Alcoa’s Answer to Plaintiffs’ Amended Complaint, Curtis, ECF No. 11 ................................... D

Alcoa’s Response in Opposition to Plaintiffs’ Motion for Preliminary Injunction, Curtis,
ECF No. 64 .................................................................................................................................. E

Transcript of Summary Judgment Oral Argument, Curtis, ECF No. 379 ................................... F

Alcoa’s Proposed Findings of Fact and Conclusions of Law, Curtis, ECF No. 507-2 .............. G

Plaintiffs’ Memorandum of Law Supporting Motion for Clarification and/or Amendment
of the Judgment Order, Curtis, ECF No. 526 ............................................................................. H

Plaintiffs’ Motion for Clarification and/or Amendment of the Judgment Order, Curtis,
ECF No. 525 ................................................................................................................................. I

Plaintiffs’ Proposed Amended Judgment Order, Curtis, ECF No. 525-1 .....................................J

Plaintiffs’ Motion for Attorneys’ Fees, Curtis, ECF No. 527 .................................................... K

Alcoa’s Opposition to Plaintiffs’ Motion for Clarification and/or Amendment of the
Judgment Order, Curtis, ECF No. 532 ....................................................................................... L

Order Denying Pls.’ Motion to Amend, Curtis, ECF No. 541 ................................................... M
                                CERTIFICATE OF SERVICE

       I certify that on April 14, 2025, a true and correct copy of the foregoing document was

served upon counsel of record by the Court’s CM/ECF service.

                                                 /s/ Mark E. Miller
                                                 Mark E. Miller
